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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )           4:07CR3079
                                         )
                   Plaintiff,            )
      v.                                 )           ORDER
                                         )
JOSE ROMO-CORRALES and                   )
FRANCISCO GALVAN-VALDEZ,                 )
                                         )
                   Defendants.           )


       IT IS ORDERED that Defendants’ motions for an enlargement of time (filings
78, 79) are granted, as follows:
       Defendants shall have until September 17, 2008, to file any objections to the
Magistrate Judge’s report and recommendation (filing 71). The enlargement of time,
from September 11, 2008, to September 17, 2008, shall be excluded from any speedy
trial calculations pursuant to 18 U.S.C. § 3161(h)(1)(F) (delay resulting from any
pretrial motion).

      September 11, 2008.                    BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
